    Case 2:20-cv-01009-SPC-NPM Document 7 Filed 01/05/21 Page 1 of 2 PageID 41




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

BENITO SANTIAGO,

              Plaintiff,

v.                                               Case No: 2:20-cv-1009-FtM-38NPM

FNU GAHRMANN, FNU
MORALES, FNU
OSTROMECKI, FNU JEAN-
PIERRE, FNU MENA, FNU
MARTIN and JANE DOE,

              Defendants.
                                          /

                              OPINION AND ORDER1

         Before the Court is Plaintiff Benito Santiago’s Motion to Amend 1983

Complaint and Affidavit of Indigency Form (Doc. 3). The Motion accompanied

a Complaint (Doc. 1) and an Application to Proceed in District Court without

Paying Fees or Costs (Doc. 2). The Motion makes clear that Santiago intended

to file an amended complaint in his earlier filed Case No. 2:20-cv-938-SPC-

MRM. He did not intend to file a new case. Defendants in the earlier case

have not been served, so the Court grants the Motion. Because this case was




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Case 2:20-cv-01009-SPC-NPM Document 7 Filed 01/05/21 Page 2 of 2 PageID 42




opened in error, the Court dismisses it. Santiago may continue to pursue his

claims in Case No. 2:20-cv-938-SPC-MRM. All future filings must include the

case number.

     Accordingly, it is now

     ORDERED:

     Plaintiff Benito Santiago’s Motion to Amend 1983 Complaint and

Affidavit of Indigency Form (Doc. 3) is GRANTED.

     1. The Clerk is DIRECTED to docket the Complaint (Doc. 1) and the

        Application (Doc. 2) as amended filings in Case No. 2:20-cv-938-SPC-

        MRM.

     2. This case is DISMISSED without prejudice.

     3. The Clerk is DIRECTED to enter judgment, terminate all pending

        motions and deadlines, and close this case.

     DONE and ORDERED in Fort Myers, Florida on January 5, 2021.




Copies: All Parties of Record




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